Case 1:18-cv-02998-KLM Document 1-2 Filed 11/21/18 USDC Colorado Page 1 of 12




                          EXHIBIT B
Case 1:18-cv-02998-KLM Document 1-2 Filed 11/21/18 USDC Colorado Page 2 of 12
Case 1:18-cv-02998-KLM Document 1-2 Filed 11/21/18 USDC Colorado Page 3 of 12
Case 1:18-cv-02998-KLM Document 1-2 Filed 11/21/18 USDC Colorado Page 4 of 12
Case 1:18-cv-02998-KLM Document 1-2 Filed 11/21/18 USDC Colorado Page 5 of 12
Case 1:18-cv-02998-KLM Document 1-2 Filed 11/21/18 USDC Colorado Page 6 of 12
Case 1:18-cv-02998-KLM Document 1-2 Filed 11/21/18 USDC Colorado Page 7 of 12
Case 1:18-cv-02998-KLM Document 1-2 Filed 11/21/18 USDC Colorado Page 8 of 12
Case 1:18-cv-02998-KLM Document 1-2 Filed 11/21/18 USDC Colorado Page 9 of 12
Case 1:18-cv-02998-KLM Document 1-2 Filed 11/21/18 USDC Colorado Page 10 of 12
Case 1:18-cv-02998-KLM Document 1-2 Filed 11/21/18 USDC Colorado Page 11 of 12
Case 1:18-cv-02998-KLM Document 1-2 Filed 11/21/18 USDC Colorado Page 12 of 12
